                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                       No. 5:15-CV-543-FL

AVX CORPORATION,                               )
                                               )
                     Plaintiff,                )
                                               )
      v.                                       )                         ORDER
                                               )
CORNING INCORPORATED,                          )
                                               )
                     Defendant.                )


       The court has been advised that the parties have settled all matters in controversy among

them. Therefore, this matter is DISMISSED subject to the right of any party to file a motion to

reopen the case should settlement not be consummated within 45 days hereof. The parties are

directed to file their Stipulation of Dismissal with Prejudice on or before July 27, 2020.

       As there appears to be no further reason at this time to maintain the file as an open one

for statistical purposes, this case is removed from the active docket.

       SO ORDERED, this 12th day of June, 2020.



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                                              LOUISE W. FLANAGAN
                                              United States District Judge




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